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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF COLUMBIA

SGCI HOLDINGS III LLC and
SOOHYUNG KIM,

                       Plaintiffs,

v.

FEDERAL COMMUNICATIONS
COMMISSION; JESSICA
ROSENWORCEL, in her official
capacity as Chairwoman of the FCC;
HOLLY SAURER, in her official
capacity as Chief of the FCC Media
Bureau; ALLEN MEDIA, LLC d/b/a
Allen Media Group; DISH NETWORK
CORPORATION; EMMER                                 CASE NO.: 1:24-cv-01204-RC
CONSULTING, INC., d/b/a I Street
Advocates f/k/a/ The Goodfriend Group;
THE NEWSGUILD-CWA;
NATIONAL ASSOCIATION OF
BROADCAST EMPLOYEES AND
TECHNICIANS-CWA;
UNITED CHURCH OF CHRIST, OC
INC., d/b/a United Church of Christ
Media Justice Ministry;
COMMON CAUSE;
BYRON ALLEN;
CHARLES ERGEN; and
DAVID GOODFRIEND,

                       Defendants.


             DEFENDANTS BYRON ALLEN AND ALLEN MEDIA, LLC’S
             MOTION TO DISMISS THE FIRST AMENDED COMPLAINT


           Pursuant to Fed. R. Civ. Proc. 12(b)(1) and 12(b)(6), Defendants Byron Allen

and Allen Media, LLC move to dismiss the First Amended Complaint (ECF No. 36)




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with prejudice. As explained in the points and authorities accompanying this

motion, the First Amended Complaint should be dismissed under Rule 12(b)(1) for

lack of subject matter jurisdiction, or under Rule 12(b)(6) for failure to state a claim

upon which relief can be granted. This Court lacks jurisdiction to consider the

causes of action in the First Amended Complaint because they impermissibly

challenge an FCC order and Congress has vested exclusive review of FCC decision

making in the D.C. Circuit. The claims in the First Amended Complaint are also

precluded by the doctrines of res judicata and collateral estoppel and are barred by

the First Amendment. The First Amended Complaint also fails to state any claims

under federal or state law. A proposed order granting Defendants Byron Allen and

Allen Media, LLC’s motion to dismiss is attached.

           WHEREFORE, Defendants Byron Allen and Allen Media, LLC request

dismissal of the First Amended Complaint (ECF No. 36) in its entirety and with

prejudice.




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Dated: September 9, 2024              Respectfully submitted,


                                      /s/ Louis R. Miller
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                                      David W. Schecter (admitted pro hac vice)
                                      Nadia A. Sarkis (admitted pro hac vice)
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                                      Attorneys for Byron Allen and Allen Media,
                                      LLC d/b/a Allen Media Group




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                         UNITED STATES DISTRICT COURT

                               DISTRICT OF COLUMBIA

SGCI HOLDINGS III LLC and
SOOHYUNG KIM,

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v.

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INC., d/b/a United Church of Christ
Media Justice Ministry;
COMMON CAUSE;
BYRON ALLEN;
CHARLES ERGEN; and
DAVID GOODFRIEND,

                      Defendants.



                                    PROPOSED ORDER

           UPON CONSIDERATION of Defendants Byron Allen and Allen Media,

LLC’s motion to dismiss and the entire record, it is hereby ORDERED that the




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motion is GRANTED; and it is further ORDERED that this action is DISMISSED

WITH PREJUDICE as against Defendants Byron Allen and Allen Media, LLC.

           SO ORDERED.




Dated: __________________________
                                      HON. RUDOLPH CONTRERAS
                                      United States District Judge




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                               CERTIFICATE OF SERVICE

           I hereby certify that a true and accurate copy of the foregoing was filed this

9th day of September, 2024, through the Court’s CM/ECF system, which will send

notice of the filing to all parties of record.



Dated: September 9, 2024                   Respectfully submitted,


                                           /s/ Louis R. Miller
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